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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                      Case No.: 1:19−cr−00226
                                                        Honorable Virginia M. Kendall
Robert M. Kowalski, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 21, 2020:


        MINUTE entry before the Honorable Virginia M. Kendall as to Robert M.
Kowalski. Evidentiary Hearing regarding Rule to Show Cause held on 10/21/2020. For
the reasons as stated in open Court, the Court Orders Defendant Robert Kowalski's
Bond revoked. Defendant is remanded into federal custody. Mailed notice (lk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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